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 6
 7
 8                   IN THE UNITED STATES DISTRICT COURT FOR THE
 9                           EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA, )         Case No. 1:06-CR-00365 LJO
                               )
12                  Plaintiff, )         STIPULATION TO MOVE MOTIONS DUE
          v.                   )         DATES AND
13                             )
                               )
14   NAJEH KAMAL JAWAD,        )         DATE:    October 7, 2009
                               )         TIME:    8:15 a.m.
15                  Defendant. )         COURTROOM: Hon. Lawrence J. O’Neill
     __________________________)
16
17
18          IT IS HEREBY STIPULATED by and between the parties hereto and
19   through their respective counsel of record that the hearing on the
20   defendant’s Motion to Dismiss Indictment scheduled for October 8,
21   2009, at 8:15 a.m. be moved to October 7, 2009 at 8:15 a.m.
22          The basis for this request is that lead counsel for the
23   government is unavailable on October 8, 2009, and would like to be
24   present for oral argument on the matter.
25          All parties herein, through their respective counsel have been
26   contacted regarding the new schedule date and concur with this
27   request.
28   ///

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 1         IT IS SO STIPULATED:
 2
     Dated: September 29, 2009                LAWRENCE G. BROWN
 3                                            United States Attorney
 4                                           /s/ Mark E. Cullers
                                        By: MARK E. CULLERS
 5                                          Assistant U.S. Attorney
 6   Dated: September 29, 2009                LAWRENCE G. BROWN
                                              Acting United States Attorney
 7
                                             /s/ James R. Terzian
 8                                      By: JAMES R. TERZIAN
                                            Assistant U.S. Attorney
 9
10   Dated: September 29, 2009          By:    /s/ Anthony P. Capozzi
                                              ANTHONY P. CAPOZZI
11                                            Attorney for Defendant
                                              NAJEH KAMAL JAWAD
12
13
14                                       ORDER
15         Upon the stipulation of the parties and good cause appearing
16   therefore,
17         IT IS HEREBY ORDERED that the Motion to Dismiss Indictment
18   scheduled for October 8, 2009, at 8:15 a.m. be moved to October 7,
19   2009, at 8:15 a.m.
20
21
22
23                                     ________________________________
                                       Honorable Lawrence J. O’Neill
24                                     U.S. District Court Judge
25
26
     IT IS SO ORDERED.
27
     Dated:   September 30, 2009          /s/ Lawrence J. O'Neill
28   66h44d                           UNITED STATES DISTRICT JUDGE

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